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LYNNE ZAGER and
TOBY ALTFIELD,

 

Plaintiffs,
v. No. 1-03-1153

GARY DEATON doing business as
DEATON’S CARPET ONE,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION FOR SUMl\/lARY JUDGMENT

 

This lawsuit was brought by the Plaintiffs, Lynne Zager and Toby Altiield, against the
Defendant, Gary Deaton doing business as Deaton’s Carpet One (“Deaton”), alleging violation of the
Fair Credit Reporting Act, codified at 15 U.S.C. §§ 1681, _et LL ("FCRA"). Before the Court is
Defendant’s motion for summary j udgmentpursuant to Rule 56 of the Federal Rules ofCivil Procedure.
The Plaintiffs have filed a response and the motion is now appropriate for disposition

FACTS

 

Defendant is a carpet and flooring business in Jackson, Tennessee. (Statement Undisputed F acts
at l.) On October 26, 2000, Zager entered into a Written contract with Deaton for the purchase and
installation of flooring at her residence (Staternent Undisputed F acts at l.) The total bill was over
S6,000.()0 and Plaintiff made a down payment of $3,000.00 with her credit card on the date of the sale.
(Statement Undisputed Facts at l_) J im Harris, a salesman for the Defendant, attempted to process the
transaction However, When Harris charged the $3,000.00 to Zager’s credit card, he mistakenly voided
the transaction leaving a negative $3,()00.00 balance (Staternent Undisputed Facts at 2.) According

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to the Defendant, Harris attempted to then charge $6,000.00 on the credit card, thereby voiding the
negative $3,000.00 balance and leaving $3,()()0.00 as the amount of the down payment (Statement
Undisputed Facts at 2.) However, Harris again apparently voided this entry which left a negative
$9,000.00 sale on Zager’s card. (Staternent Undisputed Facts at 2.) Defendant’s office manager
eventually resolved the problem charging Plaintiff only 33,000.00. (Staternent Undisputed Facts at 2.)
However, both parties concede that the “voids” did not show up on Plaintiff”s credit card statement
which instead indicated that she had been charged a total of $l 2,000.00. (Statement Undisputed Facts
at 2', Resp. Statement Undisputed Facts at 2.) Deaton claims that “when [it] became aware of the error,
it notified Plaintiff and immediately corrected the error.” (Staternent Undisputed Facts at 2.) in
response, Zager asserts that Def`endant never notified her of the alleged error and that Deaton had use
of the 39,000.00 overcharge until November 9, 2000. (Resp. Statement Undisputed Facts at 3.)
Nevertheless, according to the Defendant, Zager failed to pay the remainder of the contractual amount
(SB ,000.00), and consequently, Deaton reported Plaintiff" s non-payment to the Credit Bureau ot`Jackson
(Tennessee). (Staternent Undisputed F acts at 2.) Plaintiff denies that she failed to pay the remaining
balance (Resp. Statement Undisputed Facts at 3.) Deaton also reported Plaintifl" Altfield, Zager’s
husband, to the Credit Bureau even though he was not a party to the transaction between Defendant and
Zager. (Resp. Statement Undisputed Facts at 3.) As a result of the Defendant’s reporting to the credit
agency, Zager was denied a loan from First Tennessee Bank. (Compl. at 4.)

Plaintiffs initiated this action for monetary damages based on the FCRA. Specifically, Plaintiffs
seek to recover under 15 U.S.C. § loSls-Z(a)(l), (2), & (3) and -Z(b)(l). Plaintif`f`s also claim that

Deaton is liable for the tort of conversion under Tennessee common law.

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STANDARD FOR SUMMARY .TUDGMENT

Rule 56(0) provides that a

judgment . . . shall be rendered forthwith if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to

a judgment as a matter of law.
Fed. R. Civ. P. 56(0); g Celotex Co;p. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91
L.Ed.2d 265 (1986); Canderm Phannacal. Ltd. v. Elder Phannaceuticals` lnc., 862 F.2d 597, 601 (6th
Cir. 1988). In reviewing a motion for summary judgment, the evidence must be viewed in the light
most favorable to the nonmoving party. Matsushita Elec. lndus. Co.i Ltd. v. Zenith Radio Corp., 475
U.S. 574, 587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986). When the motion is supported by
documentary proof such as depositions and affidavits, the nonmoving party may not rest on his
pleadings but, rather, must present some “specific facts showing that there is a genuine issue for trial.”
§_e,lw, 477 U.S. at 324, 106 S.Ct. at 2553. lt is not sufficient “simply [to] show that there is some
metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., 475 U.S. at 586, 106 S.Ct.
at 1356. These facts must be more than a scintilla of evidence and must meet the standard of whether
a reasonable juror could find by a preponderance of the evidence that the nonmoving party is entitled
to a verdict. Anderson v. Libertv Lobbv. Inc., 477 U.S. 242, 252, 106 S.Ct. 2505, 2512, 91 L.Ed.2d 202
(1986). Summary judgment must be entered “against a party who fails to make a showing sufficient
to establish the existence of an element essential to that party’s case, and on which that party will bear
the burden ofproofat trial.” M)_c, 477 U.S. at 322, 106 S.Ct. at 2552. ln this circuit, “this requires
the nonmoving part[ies] to ‘put up or shut up’ [on] the critical issues of [their] asserted causes of

action.” Lord v. Saratoga Capital, Inc., 920 F. Supp. 840, 847 (W.D. Tenn. 1995) (citing Street v. J.C.

Bradford & Co., 886 F.2d 1472, 1478 (6th Cir. 1989)). The “judge may not make credibility

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determinations or weigh the evidence." Adams v. l\/letiva, 31 F.3d 375, 379 (6th Cir. 1994).
ANALYSIS

The purpose of FCRA is to ensure "that consumer reporting agencies adopt reasonable
procedures for meeting the needs of commerce for consumer credit, personnel, insurance, and other
information in a manner which is fair and equitable to the consumer, with regard to the confidentiality,
accuracy, relevancy, and proper utilization of such information . . .“ 15 U.S.C. § 1681(b); Trikas v.
Universal Card Servs. Corp. (UCS), 351 F. Supp. 2d 37, 41 (E.D.N.Y. 2005). Sections 1681n and
16810 of the statute provide for a private right of action by a consumer for willful or negligent
violations of the statute’s provisions 15 U.S.C. § 168 ln(a) (providing that “[a]ny person who willfully
fails to comply with any requirement imposed under this subchapter with respect to any consumer is
liable to that consumer”); §§ ali 15 U.S.C. § 1681o(a) (allowing a consumer to recover against a
person who negligently fails to comply with any requirement of this subchapter).

The Plaintiffs have alleged that Deaton violated § 16815-2(a)(1) of the statute, which states in
pertinent part that "[a] person Shall not furnish any information relating to a consumer to any consumer
reporting agency if the person knows or has reasonable cause to believe that the information is
inaccurate." 15 U.S.C. § 1681s-2(a)(1)(A). Subsection (a)(2) requires a person who has furnished
information which is not complete or accurate to a consumer reporting agency to promptly notify the
agency of that determination and provide any correct information 15 U.S.C. § 1681s-2(a)(2).
Similarly, subsection (a)(3) instructs a person who has furnished information to a consumer reporting
agency to disclose whether the information is disputed 15 U.S.C. § 16815-2(a)(3).

However, there is no private right of action under subsection (a). Section 16815-2(0)(1) plainly

states that "sections 1681n and 16810 do not apply to any Violation of . . . subsection (a) of this section."

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15 U.S.C. § 1681s-2(c)(1); ge also Beattie v. Nations CreditFin. Servs. Corp., No. 02-1744, 2003 WL
21.480586, at *5 (4th Cir. May 27, 2003); Gibbs v. SLM Corp., 336 F. Supp. 2d l, 11 (D. Mass. 2004);
Zotta v. NationsCredit Fin Servs. Corp., 297 F. Supp. 2d 1196, 1204 n6 (E.D. Mo. 2003); Stafford v.
Cross CountryBank, 262 F. Supp. 2d 776, 782-83 (W.D. Ky. 2003)‘, Carnev v. Experian lnfo. Solutions,
l_rL, 57 F. Supp. 2d 496, 502 (W.D. Tenn 1999). Furthermore, subsection (d) of15 U`S.C. § 16815»2
limits enforcement of the provisions of § 1681s-2(a) exclusively to "Federal agencies and officials and

. . . State officials . . ." 15 U.S.C. § 16815-2(d); Gibbs, 336 F. Supp. 2d at 11; Zotta, 297 F. Supp. 2d

 

at 1204 n.6. As the Plaintiffs cannot maintain an action under § 16813-2(21), the Defendant's motion for
summary judgment as to those claims is GRANTED.

Unlike subsection (a), some courts have assumed § 16815-2(b) is amenable to consumer
lawsuits. _SgDowns v. C]avton Homes, lnc., Nos. 03-5259, 03-6055, 2004 WL 253363, at *2 (6th Cir.
Feb. 9, 2004) (court assumed for purposes of motion that a private right of action existed under
subsection (b)); Young v. Equifax Credit Info. Servs.. lnc.. 294 F.3d 631, 629 (Sth Cir. 2002) (without
deciding the issue, the court noted that § 1681s-2(b) “appears" to impose civil liability, permitting a
private right of action}', Nelson v. Chase l\/lanhattan Mortgage Corp., 282 F.3d 1057, 1060 (9th Cir.
2002) (based on language of the statute and legislative history, court concluded private right of action
exists under subsection (b)); _(M, 336 F. Supp. 2d at 11 ("While there is not unanimity on the issue,
the majority of courts that have considered the issue have concluded that there is a private cause of

action under § 16815-2(b) as there is no statutory ban on such a claim"); contra Carney, 57 F. Supp. 2d

 

at 502 (the magistrate judge held that “an individual . . . cannot state a claim under 15 U.S.C. § 1681s-
2(b)). Because both the Plaintiffs and Defendant do not dispute that there is a private right of action

under subsection (b), the Court will assume for purposes of this motion that a private right of action

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does exist.
Subsection (b) provides as follows:

After receiving notice . . . of a dispute with regard to the completeness or accuracy of
any information provided by a person to a consumer reporting agency, the person shall

(A) conduct an investigation with respect to the disputed information;

(B) review all relevant information provided by the consumer reporting
agency;

(C) report the results of the investigation to the consumer reporting agency;

(D) if the investigation finds that the information is incomplete or inaccurate,
report those results to all other consumer reporting agencies to which the
person furnished the information and that compile and maintain files on
consumers on a nationwide basis; and

(E) if an item of information disputed by a consumer is found to be
inaccurate or incomplete or cannot be verified after any reinvestigation
. . ., for purposes of reporting to a consumer reporting agency only, as
appropriate, based on the results of the reinvestigation promptly--

(i) modify that item of information',

(ii) delete that item of infonnation; or
(iii) permanently block the reporting of that item of information

15 U.S,C. § 16815-2(b)(1). In Downs, the Sixth Circuit, following the Fifth Circuit‘s decision in Young,
analyzed a subsection (b) claim as follows:
[u]nder the FCRA, those who furnish information to consumer reporting agencies have
two obligations: (1) to provide accurate infonnation; and (2) to undertake an
investigation upon receipt of a notice of dispute regarding credit information that is
furnished . . . [T]he plaintiff must show that the fumisher received notice from a
consumer reporting agency, not the plaintiff, that the credit information is disputed
Downs, 2004 WL 253363, at *2 (citing Young, 294 F.3d at 639-40).

Defendant contends that it never received notice from a credit reporting agency of any consumer

disputes by the Plaintiffs (Mem. Law Supp. Mot. Sumrn. J. at 8 (“Def. l\/lem.”).) Deaton relies upon

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the decision ofWhisenant v. FirstNational Bank & Trust Co., 258 F. Supp. 2d 1312 (N.D. Okla. 2003)

in which the court held that

[p]laintiffs have produced not one scintilla of evidence that [the credit reporting

agencies] notified [the defendant] of their dispute Obviously [the defendant] knew of

plaintiffs’ dispute Furthermore, the record indicates that [the defendant] was in fairly
regular contact with [the reporting agencies] regarding the software conversion errors

that occurred in early 1999. But these facts simply do not speak to whether [the

agencies] notified [the defendant] of plaintiffs’ dispute Again, in order to trigger the

duties under the FCRA, [the defendant] had to be notified of plaintiffs’ dispute by a

credit reporting agency,

Id. at 1316 (emphasis in original). Defendant Deaton has submitted his affidavit wherein he attested
that “[t]he Credit Bureau of Jackson never contacted [him or] Deaton’s Carpet One in any way of
Plaintiffs’ dispute of the bill.” (Affidavit of Gary Deaton ‘11 8.)

In response, Plaintiffs assert that Deaton had actual notice and was therefore required to conduct
an investigation of the consumer dispute (Resp. Mot. Summ. J . at 3.) Plaintiffs also object to Deaton’s
affidavit as inadmissible hearsay and argue that his statement is “contradicted by the fact that the
reporting agency removed the adverse report because of Defendant’s non response.” (Resp. l\/lot.
Summ. J. at 3.) Furthermore, because discovery had not yet been completed at the time Plaintiffs’
response to the motion was due, they submit it was impossible to know whether Deaton ever received
notice from the credit reporting agency, (Resp. l\/lot. Summ. J. at 3.) Plaintiffs contend that other
employees of the company could also have received the notice.

The Court finds the Plaintiffs’ arguments unavailing As indicated by the Sixth Circuit in
Downs, the Plaintiffs must show that Deaton received notice from the reporting agency, not from Zagerr
that the credit information was disputed Downs, 2004 WL 253363, at *2 (citing Young, 294 F.3d at

639-40); Le_ BQ Whisenant, 258 F. Supp. 2d at 1316. Therefore, the fact that Defendant had actual

notice of the dispute is irrelevant A furnisher of incorrect credit information must have received notice

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from the credit reporting agency in order for subsection (b) duties to be triggered ld. As for Deaton’s
affidavit, the Plaintiffs have made unsupported allegations that it is hearsay. However, Deaton has
submitted his statement based on his personal knowledge (§_e_e Deaton aff. at 1.) The Plaintiffs have
cited to no case or Federal Rule ovaidence which would support the exclusion of the affidavit (Resp.
Mot. Summ. J. at 3.) §§ Fed. R. Civ. P. 56(e) (supporting affidavits are to made on personal
knowledge and may form the basis for summary judgment).

With respect to the Plaintiffs’ argument that Deaton’s affidavit is contradicted by the fact that
“the reporting agency removed the adverse report because of Defendant’s non response,” the Court
concludes that this position may actually bolster Deaton’s statement because it is equally plausible that
he did not respond to the credit reporting agency’s letter because he never received one (Resp. Mot.
Summ. J. at 3.) Furthermore, Plaintiffs’ suggestions that other employees of the company could have
received the notice and that summary judgment should be denied since discovery had not been taken
at the time Plaintiffs filed their response are baseless According to the Amended Scheduling Order
entered by Magistrate Judge S. Thomas Anderson orr l\/larch 15, 2005, the deadline for completing all
discovery was l\/lay 2, 2005. To date, the Plaintiffs have not submitted any supplemental evidence
demonstrating that Defendant received notice from the reporting agency or establishing that another
employee may have received such notice Thus, the Court concludes that the Plaintiffs have failed to
create a genuine issue of material fact as to whether Deaton received notice of the dispute from the
credit reporting agency. As notification by Plaintiffs does not satisfy the statute's notice requirement,
they have no claim under § l6815-2(b). §_e§ wit/ns 2004 WL 253363, at *2 (citing Yo_ung, 294 F.3d

ar 639_40)_

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With the resolution of Plaintiffs’ federal claims, the only remaining cause of action falls under
Tennessee state law. The acceptance by a district court of supplemental or pendent jurisdiction over
state law claims is governed by 28 U.S.C. § 1367, which expressly permits a court to decline the
exercise of jurisdiction when it has dismissed all claims over which it had original jurisdiction 28
U.S.C. § 1367(c)(3). Without any remaining federal claims against the Defendant, the Court declines
to exercise jurisdiction over the Plaintiffs’ state law claim of conversion and thus DlSMlSSES it
without prejudice Y_e_ Weeks v. Portage Countv Executive Offices, 235 F.3d 27 5, 279-80 (6th Cir.
2000) (district court’s decision to decline to exercise supplemental jurisdiction lies within its sound
discretion).

CONCLUSION

For the reasons set forth herein, the motion of the Defendant for summary judgment is

GRANTED and the Clerk of Court is directed to enter judgment in accordance herewith

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This notice confirms a copy of the document docketed as number 24 in
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Honorable .1. Breen
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